               Case 18-29215               Doc          Filed 09/29/20   Entered 09/29/20 10:12:52                       Desc Main
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Fill in this infonnation to identify the case:
Debtor I Johannes Wilhelmus DeWinter

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the: District of Utah

Case Number 18-29215-WTT


Official Form 41 OS 1
                                                                                                                                     12/15
    Notice of Mortgage Payment Change
    If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in
    the debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File
    this form as a supplemental to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule
    3002.1.

    Name of creditor: United Security Financial Corp.                           Court Claim No.: Q


    Last 4 digits of any number you use          3224                           Date of payment change:               l l/Ol/2020
    to identify the debtor's account:                                                                                 mm/dd/yyyy
                                                                                Must be at least 21 days after date
                                                                                of this notice


                                                                                New total payment:                    $ 1.213.33

                                                                                Principal, interest, escrow, if any


           f-1111 Escrow Account Payment Adjustment
    I.     Will there be a change in the debtor's escrow account payment?


                □ No
                0 Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable non-
                           bankruptcy law. Describe the basis for the change. If a statement is not attached, explain why:



                           CmTent escrow payment: $ 196.45                       New escrow: $168.74


-                     Mortgage Payment Adjustment
2.        ·wm the debtor's principal and interest payment change based on an adjustment to the interest rate on the
           debtor's variable-rate account?

                0 No
                □     Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy
                           law. If a notice is not attached, explain why:



                           Current interest rate:                                New interest rate:

                           Current principal and interest payment: $             New principal and interest payment: $


111111                Other Payment Change
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Debtor I     Johannes Wilhelmus De Winter                                                           Case number (if known) 18-29? 15-WTT


3.       Will there be a change in the debtor's m01igage payment for a reason not listed above?

            0 No
            D Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
                        modification agreement. (Cami approval may be required before the payment change can take effect.)

                        Reason for change: Escrow Account Payment Adjustment
                        Current mortgage payment: $                                    New mmigage payment:$

Part 4:         Sign Here
The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number if different from the notice listed on the proof of claim to which this Supplement applies.

Check the appropriate box.
□    I am the creditor.           0 I am the creditor's authorized agent.
                                  (Attach copy of the power of attorney, if any.)


I declare under penalty ofpe1jmy that the information provided in this Notice is true and correct to the best ofmy
knowledge, info1mation and reasonable belief.


X Isl Armand J. Howell                                                      Date    0912912020
Signature                                                                           mm/dd/yyyy

Print:          Armand J. Howell                                            Title Attorney at Law
                First Name      Middle Name    Last Name

Company:        Halliday. Watkins & Mann, P.C.
               376 East 400 South, Suite 300
               Number        Street

                Salt Lake City. UT 84111
               City                    State   Zip Code

Contact Phone 801-355-2886                                                  Email info@hwmlawfirm.com




Official Form 4 IOS I                                           Notice of Payment Change                                     Page 2
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        round point                                                                                            Escrow Analysis Statement
                                                                                                               Analysis Date 09/22/2020
   P.O. Box 19409
   Charlotte, NC 28219-9409                                                   YOUR ACCOUNT INFORMATION
   Important Escrow Information
                                                                      Loan Number:
                                                                      Unpaid Principal Balance:                                      $249,672.68
                                                                      Interest Rate:                                                     2.2500%
                                                                      Current Payment Amount:                                           $1,225.37
                                                                      Principal & Interest:                                            $1,028.92
    ■-
    JOHANNES W DEWINTER
    2165 W1010 N
                    ---                                               Escrow:                                                             $196.45
                                                                      Additional Monthly Amounts•                                           $0.00
    SAINT GEORGE UT 84770-4863




                                                                                                                    -
                                                                    ·AdoItIona Mont ty Amounts - 1n1s accounts or opt1ona prooucts, me uomg, but not
                                                                    limited lo: TotalProtect. SystcmsProtect and Appliance-Protect home service plans. and
                                                                    ACE Disaster Mortnane Protection insurance


   Dear JOHANNES W DEWINTER,

   Please see the important information below regarding your Escrow Account on the above referenced account.

                                             Important Bankruptcy Information

   This statement is for information only. We are not trying to collect a debt against you personally. Our records
   indicate that you recently filed for bankruptcy or you are already having a discharge. Although your legal duty to
   repay the loan may be discharged, we still have a lien on the property and the right to foreclose on the property if
   the loan is in default.

   Please be advised that this is not an attempt to collect any pre-petition escrow advances, which have been
   previously included in the subject mortgagee's Proof of Claim and were approved to be paid through the Bankruptcy
   Plan. The escrow account overage above is based off of the assumption that all escrow contractual payments were
   made current. If the escrow payments were not made current the overage shown above is not accurate and will not
   be disbursed.

   What is an Escrow Account?
   Each month, a part of your monthly mortgage payment is deposited into your Escrow Account. We use this money to
   pay your Scheduled Disbursements for Taxes, Hazard Insurance, and/or Mortgage Insurance as they come due
   throughout the year. The amount we collect from you and deposit in your Escrow Account each month is 1/12 of the
   annual Scheduled Disbursements, plus any minimum balance requirement, sometimes called a 'cushion'.

    For your property at 2165W 1010 N, SAINT GEORGE, UT 84770, the cushion is equal to 1 month of the escrow
    payment.


                              TABLE 1- DISBURSEMENTS ON YOUR BEHALF IN THE UPCOMING YEAR
     Payee Name                                           Amount                                       Phone Number
     AMERICAN FAMILY CONNECT                              $416.36                                      888-554-5709
     WASHINGTON COUNTY                                    $1,608.50                                    435-634-5711
     Total Scheduled Disbursements                        $2,024.86


   What is an Escrow Account Surplus?
   A surplus means you have more money in your escrow account than what is needed to fully pay your Scheduled
   Disbursements. An Escrow Account Surplus is typically caused by changes in your taxes or insurance premiums.

    What are the results of my Annual Escrow Account Analysis?
    We've completed the analysis of your Escrow Account based on the activity for the period Mar 2020 - Oct 2020
    (Table 2) and our analysis indicates your escrow account has an Escrow Account Surplus exists in the amount of
    $291.56.

    The Unpaid Principal Balance (UPB) of your loan as of your last analysis on Mar 2020 was $253,568.90. The UPB of
    your loan as of this analysis is $249,672.68. Your UPB changed by $3,896.22.

                If you are signed up for automatic payments through RoundPoint Mortgage Servicing Corporation, the
    amount drawn from your account will automatically update. If you are using a non-RoundPoint payment service,




          roundpoint                                      ESCROW SURPLUS SUMMARY
                                                          Overage Amount: $291.56

                                                          This amount will be refunded to you.
   Loan Number:

   Name: JOHANNES W DEWINTER                              Please contact our Customer Service Department at
                                                          877-426-8805 with any questions you may have about this
                                                          amount
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    please contact your provider to adjust your monthly payment amount.       Page 4 of 7




                                     TABLE 2 - ACTUAL ESCROW ACCOUNT HISTORY

   The table below reflects what actually happened in your escrow account since your last analysis compared to what
   we estimated would happen. Last year's estimates are next to the actual activity.

                                                         Payments                         Disbursements
         Month        Description              Estimated             Actual          Estimated            Actual     Estimated    Actual
                                                                                                                      Balance     Balance
                                                               Starting Balance $621.96
       March          Hazard Ins               $186.21          $196.45                   $0.00 •          $416.36    $808.17       $402.05
        April         Hazard Ins               $186.21          $196.45                $626.00 •             $0.00    $368.38       $598.50
        May           Deposit                  $186.21          $196.45                   $0.00              $0.00    $554.59       $794.95
        June          Deposit                  $186.21          $392.90                   $0.00              $0.00    $740.80      $1,187.85
        July          Deposit                  $186.21          $0.00                     $0.00              $0.00    $927.01      $1,187.85
       August         Deposit                  $186.21          $319.31                   $0.00              $0.00    $1,113.22   $1,507.16
     September       Deposit                   $186.21          $196.45                   $0.00              $0.00   $1,299.43    $1,703.61
       October     E Deposit                   $186.21          $196.45                   $0.00              $0.00   $1,485.64    $1,900.06
      November       County Tax                $186.21          $0.00                 $1,608.50 •            $0.00      $63.35    $1,900.06
      December       Deposit                   $186.21          $0.00                     $0.00              $0.00    $249.56     $1,900.06
       January       Deposit                   $186.21          $0.00                     $0.00              $0.00    $435.77     $1,900.06
      Februa          De osit                  $186.21          $0.00                     $0.00              $0.00     $621.98    $1900.06
                                            $2,234.52               $1,694.46        $2,234.50             $416.36     $621.98    $1,900.06

   An asterisk(') indicates a difference between the estimated and actual payments and disbursements. The letter E beside an
   amount indicates that the payment or disbursement has not yet occurred but is estimated to occur as shown.

                                             TOTAL DISBURSEMENTS FROM ESCROW ACCOUNT

      Taxes•                                                  $1,608.50
      Insurance*                                              $416.36
      Mortgage Insurance•                                     $0.00
      Other Charges'                                          $0.00

      *Indicates the total amount you have paid out of your escrow account for over the last 12 months.
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                  TABLE 3 - EXPECTED ESCROW ACTIVITY OVER THE NEXT 12 MONTHS

   The table below shows a month by month activity we expect will occur in your escrow account over the next 12
   months. This shows the estimated low balance point that is used to calculate an escrow shortage or surplus.

       Month                                        Payment        Disbursement     Estimated        Minimum
                           Description                                                                              Difference
                                                    Estimate         Estimate        Balance         Required

                                                      Starting Balance $1,900.06
     November    County Tax Disbursement               $168.74         $1,608.50        $460.30         $168.74         $291.56
     December    Deposit                               $168.74             $0.00        $629.04         $168.74         $460.30
      January    Deposit                               $168.74             $0.00        $797.78         $168.74         $629.04
      February   Deposit                               $168.74             $0.00        $966.52         $168.74         $797.78
       March     Deposit                               $168.74             $0.00       $1,135.26        $168.74         $966.52
        April    Hazard Insurance Disbursement         $168.74           $416.36        $887.64         $168.74         $718.90
        May      Deposit                               $168.74             $0.00      $1,056.38         $168.74         $887.64
       June      Deposit                               $168.74             $0.00       $1,225.12        $168.74       $1,056.38
        July     Deposit                               $168.74             $0.00      $1,393.86         $168.74       $1,225.12
      August     Deposit                               $168.74             $0.00      $1,562.60         $168.74       $1,393.86
     September   Deposit                               $168.74             $0.00       $1,731.34        $168.74       $1,562.60
      October    Deposit                               $168.74             $0.00      $1,900.08         $168.74        $1,731.34

   We expect that during the next 12 months, we will make the total of $2,024.86 disbursements from your account. Your lowest
   estimated balance is $460.30. Your required minimum balance is $168.74. This means that you have a Surplus in the amount of
   $291.56.
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                      IF YOUR LOAN INCLUDES PRIVATE MORTGAGE INSURANCE (PMI)
                              PLEASE READ THIS IMPORTANT INFORMATION

 Private Mortgage Insurance: Your mortgage loan requires private mortgage insurance ("PMI"). PMI protects lenders and
 others against financial loss when borrowers default. Charges for the insurance are added to your loan payments. Under
 certain circumstances, federal law gives you the right to cancel PMI or requires that PMI automatically terminate. Private
 mortgage insurance may, under certain circumstances, be canceled by the mortgagor (with consent of the mortgagee or in
 accordance with applicable state law). Cancellation or termination of PMI does not affect any obligation you may have to
 maintain other types of insurance.

 Borrower Requested Cancellation of PMI: Under the Homeowners Protection Act of 1998, if your loan closed on or after
 July 29, 1999 as a single-family primary residence, you have the right to request that PMI be cancelled on or after either of
 these dates: (1) the date the principal balance of your loan is first scheduled to reach 80% of the original value of the
 property or (2) the date the principal balance actually reaches 80% of the original value of the property. PMI will only be
 cancelled on these dates if (1) you submit a written request for cancellation: (2) you have a good payment history: and (3) we
 receive, if requested and at your expense, evidence that the value of the property has not declined below its original value
 and certification that there are no subordinate liens on the property. A "good payment history" means no payments 60 or
 more days past due within two years and no payments 30 or more days past due within one year of the cancellation date.
 "Original value" means the lesser of the contract sales price of the property or the appraised value of the property at the
 time the loan was closed. Automatic Termination of PMI: Under the Homeowners Protection Act of 1998, if your loan closed
 on or after July 29, 1999 as a single-family primary residence and if you are current on your loan payments, PMI will
 automatically terminate on the date the principal balance of your loan is first scheduled to reach 78% of the original value of
 the property. If you are not current on your loan payments as of that date, PMI will automatically terminate when you
 thereafter become current on your payments. In any event, PMI will not be required on your mortgage loan beyond the date
 that is the midpoint of the amortization period for the loan if you are current on your payments on that date.
 If your loan closed before July 29, 1999 or if it is not a single-family primary residence or second home: The conditions for
 cancelling mortgage insurance for mortgages closed before July 29,1999 are not statutory under federal law, they may be
 changed at the lender's discretion (unless otherwise required by state law).
 If you have any questions or concerns: Please call us at 877-426-8805 to speak with one of our friendly customer service
 representatives. Written requests for cancellation can be sent to PO Box 19049, Charlotte NC 28219-9409.
 To provide us with a Notice of Error about the servicing of your loan, or make a Request for Information about the servicing
 of your loan, please write to us at:
 RoundPoint Mortgage Servicing Corporation
 P.O. Box 19789
 Charlotte, NC 28219-9409
 Federal law requires us to advise you that RoundPoint Mortgage Servicing Corporation (NMLS ID# 18188) is a debt collector
 and that this is an attempt to collect a debt. Any information obtained may be used for that purpose. To the extent your
 obligation has been discharged or is subject to the automatic stay in a bankruptcy proceeding, this notice is for
 informational purposes only and does not constitute a demand for payment or an attempt to collect indebtedness as your
 personal obligation. If you are represented by an attorney, please provide us with the attorney's name, address, and
 telephone number.
 NOTICE TO CUSTOMERS: RoundPoint Mortgage Servicing Corporation may report information about your mortgage
 account to credit bureaus. Late payments, missed payments, or other defaults on your account may be reflected in your
 credit report.

 FOR SUCCESSORS IN INTEREST: Confirmed successors in interest to borrowers named on the Note are not liable for
 repayment of the debt of the original named borrower unless and until the successor assumes the loan obligation pursuant
 to applicable law.
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                              MAILING CERTIFICATE

       The undersigned hereby ce1iifies that a true and correct copy of the foregoing

Notice of Mo1igage Payment Change was mailed by first class mail, postage prepaid, or

via ECF, this 29 th day of September, 2020, to each of the following:

          Joham1es Wilhelm us De Winter               Jeremy R. McCullough
          2165 West 1010 No1ih                        ViaECF
          Saint George, UT 84770                      Debtors' Attorney
          Debtor
                                                      Lon Jenkins
          United States Trustee                       ViaECF
          ViaECF                                      Chapter 13 Trustee

                                                            ls/Armand J. Howell

                                                            Armand J. Howell
